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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

CASE NO. 6:10-CV-342-ORL-36-DAB

ANA MARIA HAZLETON,
Plaintiff
VS.
THE CITY OF ORLANDO, a municipal
corporation and political subdivision of the
State of Florida, FERNANDO TRINIDAD, individually;
FRANK SIKOS, individually; and
EDWARD ALBINO, individually;

Defendants.

 

VERDICT
On the claims of the Plaintiff, Ana Maria Hazleton, against Defendants,
City of Orlando, Fernando Trinidad, Frank Sikos and Edward Albino, do you

find:

l. That the Plaintiff, Ana Maria Hazleton, has proved by the
preponderance of the evidence that the conduct of the Defendants was the
proximate or legal cause of damages sustained by the Plaintiff, Ana Maria

Hazleton, for the reasonable cost of medical care?

Yes V No
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If your answer is Yes, in what amount? $ GOlo. 19

2. That the Plaintiff, Ana Maria Hazleton, has proved by the
preponderance of the evidence that the conduct of the Defendants was the
proximate or legal cause of damages sustained by the Plaintiff, Ana Maria
Hazleton, for the reasonable cost of legal fees and defense costs?

Yes ms No

If your answer is Yes, in what amount? $6,100.00
3, That the Plaintiff, Ana Maria Hazleton, has proved by the

preponderance of the evidence that the conduct of the Defendants was the
proximate or legal cause of damages sustained by the Plaintiff, Ana Maria
Hazleton, for lost wages?

Yes 4 fF No

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If your answer is Yes, in what amount?

a. Total damages for past lost wages $ © £00.00

b. Total damages over future years $ O
e. Number of years over which those future damages are intended to

provide compensation

d. Present value of those future damages $ ©

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4, That the Plaintiff, Ana Maria Hazleton, has proved by the
preponderance of the evidence that the conduct of the Defendants was the
proximate or legal cause of damages sustained by the Plaintiff, Ana Maria
Hazleton, for scarring, pain and suffering, disfigurement, mental anguish,
inconvenience, aggravation of a disease or physical defect or loss of capacity for
the enjoyment of life, and loss of reputation?

Yes et No

If your answer is Yes, in what amount?

4 5. i sO
a. Total damages for past years $ ©d, OOO «*
b. Total damages over future years $ OC
(om Number of years over which those future damages are intended to

provide compensation

©

d. Present value of those future damages $ fe)
o

Punitive Damages
5. That the Plaintiff, Ana Maria Hazleton, has proved by clear and
convincing evidence that punitive damages are warranted against:

Frank Sikos Yes i No __
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If you have elected not to assess punitive damages then you should skip the
remaining questions and sign and date the verdict form. If, however, you have
elected to assess punitive damages against Frank Sikos, you must also answer the
following questions:

6. At the time of loss, injury or damage to Ana Maria Hazleton, did

Frank Sikos have a specific intent to harm Ana Maria Hazleton, and did the

conduct of Frank Sikos in fact harm Ana Maria Hazleton?

Frank Sikos Yes J No
7. What is the amount of punitive damages that Ana Maria Hazleton

has proved by the preponderance of the evidence ?

$ 6, O00.”

SO SAY WE ALL, this Qo day of April, 2013.

 

 

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